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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA
v. CRlMlNAL NO. l9-CR-1008()

DAVID SIDOO, et al. ,
Defendants.

\_/\-n_/\_/\-,/\-/\_/‘b/\_/

 

DEFENDANT ROBERT ZANGRILLO’S ENTRY OF A PLEA OF NOT GUILTY
AND WAIVER OF APPEARANCE FOR ARRAIGNMENT AS TO THE SECOND
SUPERSEDING INDICTMENT

lRobert Zangrillo, hereby acknowledge that I have received a copy of the second
superseding indictment in this case. I understand that I have the right to appear personally
at my arraignment pursuant to Rule 43 of the Fed. R. Crim. P. and that l have the right to
have the indictment read to me in open court as well.

l have talked about the charges in the indictment with my attorneys and I
understand the nature of the offenses I am charged with and also understand my right to

be at an arraignment l have chosen to waive my appearance for arraignment and request

that my plea of NOT GUILTY be entered on my behalf under Fed. R. Crim. P. lO(b).

@W“

Robert Zangn`llo

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Dated: April 12, 2019

CERTIFICATE OF SERVICE

l, Martin G. Weinberg, hereby certify that on this date, April 12, 2019, a copy of
the foregoing document has been served via Electronic Court Filing system on all
registered participants, including Eric S. Rosen, Assistant United States Attorney.

/s/ Martin G. Weinberg
Martin G. Weinberg, Esq.

